                    Case 1:24-cv-03188-RC                Document  2 Filed 11/12/24
                                                          &/(5.=62)),&(                            Page 1 of 2 &2
                                               81,7('67$7(6',675,&7&2857                                         5HY
                                               )257+(',675,&72)&2/80%,$

                              127,&(2)'(6,*1$7,212)5(/$7('&,9,/&$6(63(1',1*
                                   ,17+,625$1<27+(581,7('67$7(6&2857
                                                                                                                     1:24-cv-3188
                                                                                                   &LYLO$FWLRQ1RBBBBBBBBBB
                                                                                                    7REHVXSSOLHGE\WKH&OHUN

127,&(723$57,(6

          3XUVXDQWWR5XOH E  \RXDUHUHTXLUHGWRSUHSDUHDQGVXEPLWWKLVIRUPDWWKHWLPHRIILOLQJDQ\FLYLODFWLRQZKLFKLV
UHODWHGWRDQ\SHQGLQJFDVHVRUZKLFKLQYROYHVWKHVDPHSDUWLHVDQGUHODWHVWRWKHVDPHVXEMHFWPDWWHURIDQ\GLVPLVVHGUHODWHGFDVHV
7KLVIRUPPXVWEHSUHSDUHGLQVXIILFLHQWTXDQWLW\WRSURYLGHRQHFRS\IRUWKH&OHUN=VUHFRUGVRQHFRS\IRU WKH -XGJH WR ZKRP WKH
FDVHVLVDVVLJQHGDQGRQHFRS\IRUHDFKGHIHQGDQWVRWKDW\RXPXVWSUHSDUHFRSLHVIRUDRQHGHIHQGDQWFDVHFRSLHVIRUD WZR
GHIHQGDQWFDVHHWF

127,&(72'()(1'$17

        5XOH E  RIWKLV&RXUWUHTXLUHVWKDW\RXVHUYHXSRQWKHSODLQWLIIDQGILOHZLWK\RXUILUVWUHVSRQVLYHSOHDGLQJRUPRWLRQ
DQ\REMHFWLRQ\RXKDYHWRWKHUHODWHGFDVHGHVLJQDWLRQ

127,&(72$//&2816(/

          5XOH E  RIWKLV&RXUWUHTXLUHVWKDWDVVRRQDVDQDWWRUQH\IRUDSDUW\EHFRPHVDZDUHRIWKHH[LVWHQFHRIDUHODWHGFDVH
RUFDVHVVXFKDWWRUQH\VKDOOLPPHGLDWHO\QRWLI\LQZULWLQJWKH-XGJHVRQZKRVHFDOHQGDUVWKHFDVHVDSSHDUDQGVKDOOVHUYHVXFKQRWLFH
RQFRXQVHOIRUDOORWKHUSDUWLHV
                                                            BBBBBBBBBBBBBBB

7KHSODLQWLIIGHIHQGDQWRUFRXQVHOPXVWFRPSOHWHWKHIROORZLQJ

,       5(/$7,216+,32)1(:&$6(723(1',1*5(/$7('&$6( 6 

         $QHZFDVHLVGHHPHGUHODWHGWRDFDVHSHQGLQJLQWKLVRUDQRWKHU86&RXUWLIWKHQHZFDVH>&KHFNDSSURSULDWHER[ H=V
         EHORZ@

                       D      UHODWHVWRFRPPRQSURSHUW\

                ✘      E      LQYROYHVFRPPRQLVVXHVRIIDFW

                ✘      F      JURZVRXWRIWKHVDPHHYHQWRUWUDQVDFWLRQ

                       G      LQYROYHVWKHYDOLGLW\RULQIULQJHPHQWRIWKHVDPHSDWHQW

                       H      LVILOHGE\WKHVDPHSURVHOLWLJDQW

       5(/$7,216+,32)1(:&$6(72',60,66('5(/$7('&$6( (6

         $QHZFDVHLVGHHPHGUHODWHGWRDFDVHGLVPLVVHGZLWKRUZLWKRXWSUHMXGLFHLQWKLVRUDQ\RWKHU86&RXUWLIWKHQHZFDVH
         LQYROYHVWKHVDPHSDUWLHVDQGVDPHVXEMHFWPDWWHU

         &KHFNER[LIQHZFDVHLVUHODWHGWRDGLVPLVVHGFDVH

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         &2857 


       &$37,21$1'&$6(180%(52)5(/$7('&$6( (=6 ,)025(5220,61(('3/($6(86(27+(56,'(
          OREGON HEALTH & SCIENCE UNIVERSITY Y JOHNSON et al.                                               &$1R 24-02184-RC

          11/12/2024
                                               /s/ Jeffrey L. Handwerker
         '$7(                                6LJQDWXUHRI3ODLQWLII'HIHQGDQW RUFRXQVHO
     Case 1:24-cv-03188-RC    Document 2   Filed 11/12/24   Page 2 of 2
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                                                       Civil Action No.: _______


       NOTICE OF DESIGNATION OF RELATED CIVIL CASES PENDING
             IN THIS OR ANY OTHER UNITED STATES COURT
                              (continued)

•   MAINEGENERAL MEDICAL CENTER v. JOHNSON et al., C.A. No. 1:24-cv-02187

•   UNIVERSITY OF ROCHESTER v. JOHNSON et al., C.A. No. 1:24-cv-02268

•   CHILDREN’S NATIONAL MEDICAL CENTER v. JOHNSON et al., C.A. No. 1:24-
    cv-02563

•   UNIVERSITY OF WASHINGTON MEDICAL CENTER v. BECERRA et al., C.A. No.
    1:24-cv-02998
